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JUDGE MARRERO

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED INDICTMENT

y. 23 Cr.

NIKHIL GUPTA,
a/k/a “Nick,” ay EY

%

ee

Defendant.

COUNT ONE
(Murder-for-Hire Conspiracy)

‘The Grand Jury charges:

i. From at least in or about May 2023 through at least in or about June 2023, in the
Southern District of New York and elsewhere, NIKHIL GUPTA, a/k/a “Nick,”, the defendant, and
others known and unknown, willfully and knowingly combined, conspired, confederated, and
agreed together and with each other to travel in and cause another person to travel in interstate and
foreign commerce, and to use and cause another person to use the mail and a facility of interstate
and foreign commerce, with intent that a murder be committed in violation of the laws of a State
and the United States as consideration for the receipt of, and as consideration for a promise and

agreement to pay, a thing of pecuniary value, to wit, GUPTA, in agreement with others, hired a

person GUPTA believed to be a hitman to murder an intended victim, and used a cellular phone
to, among other things, coordinate a $15,006 advance payment to the purported hitman’s associate
in New York, New York.

(Title 18, United States Code, Section 1958.)

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COUNT TWO
(Murder-for-Hire)

The Grand Jury further charges:

2. From at least in or about May 2023 through at least in or about June 2023, in the
Southern District of New York and elsewhere, NIKHIL GUPTA, a/k/a “Nick,” the defendant,
traveled in and caused another person to travel in interstate and foreign commerce, and used and
caused another person to use the mail and a facility of interstate and foreign commerce, with intent
that a murder be committed in violation of the laws ofa State and the United States as consideration
for the receipt of, and as consideration for a promise and agreement to pay, a thing of pecuniary
value, to wit, GUPTA hired a person GUPTA believed to be a hitman to murder an intended victim,
and used a cellular phone to, among other things, coordinate a $15,000 advance payment to the
purported hitman’s associate in New York, New York.

(Title 18, United States Code, Sections 1958 and 2.)

FORFEITURE ALLEGATION

3. As a result of committing the offenses alieged in Counts One and Two of this
Indictment, NIKHIL GUPTA, a/k/a “Nick,” the defendant, shall forfeit to the United States,
pursuant to Title 18, United States Code, Section 981{a)(1)(C), and Title 28 United States Code,
Section 2461(c), any and all property, real and personal, that constitutes or is derived from
proceeds traceable to the commission of said offenses, including but not limited to a sum of money
in United States currency representing the amount of proceeds traceable to the commission of said
offenses that the defendant personally obtained.

Substitute Assets Provision

4, If any of the above-described forfeitable property, as a result of any act or

omission of the defendant:
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a. cannot be located upon the exercise of due diligence;

b, has been transferred or sold to, or deposited with, a third person;

c. has been placed beyond the jurisdiction of the Court;

d. has been substantially diminished in value; or

e, has been commingled with other property which cannot be subdivided
without difficulty;

it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), and
Title 28, United States Code, Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the above forfeitable property.

(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853; and
Title 28, United States Code, Section 2461.)

“DAMIAN WILLIAMS
United States Attorney

